sa ev. SE 2:22-cv-04211-JMV-CL PPU CR sHE

| 6/23/22

 

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing

 

Page 1 of 1 PagelD: 42

ind service of pleadings or other papers as required by law, except as

 

provided by local rules of court. This form, approved by the Judicial Conference of the United States in Sq
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

tember 1974, is required for the use of the Clerk of Court for the.

 

I. (a) PLAINTIFFS “ey
|

County of Residence of First Listed Plaintiff District of Columbia County o:
ty

(EXCEPT IN U.S. PLAINTIFF CASES) |
NOTE: IN

Attorneys

Law Pos

250 Park Avenue, 7th Flr
New York, NY 10177
Tel; (646) 580-3204

(econ Ral B me Aare. ond Tle a
250 Park Avenue, 7th Fir
New York, NY 10177
Tel: (212) 920-7142

Vice-

 

DANTS

Residence of First Listed Defendant

Douala, Cameroon

(IN U.S. PLAINTIFF CASES ONLY)
LAND CONDEMNATION CASES, USE THE LOCATION OF

if Known)

TRE TRACT OF LAND INVOLVED.

 

I. BASIS OF JURISDICTION (Place an “X” in One Box Only) TH. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Chises Only) and One Box for Defendant)
(]1 US. Government . [x ]3_ Federal Question PIF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State C] 1 C] 1 Incorporated or Principal Place C] 4 C] 4
of Business In This State
[]2 U.S. Government []4 Diversity Citizen of Another State C12 [_] 2 Incorporated andPrincipalPlace []5 []5
Defendant (Indicate Citizenship of Parties in Item II) of Business In Another State
Citizen or Subject of C] 3 Cl 3 Foreign Nation Cl 6 C] 6
Foreign Country

 

 

IV. NATURE OF SUIT

Co TT eas

ce an “X” in One Box Onl

          
     
    

    

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Click here for: }

 

 

 

 

 

 

 

       
    
     
 
 
 
     
 
  

 

  

 

 

 
  
 

 

 

ature of Suit Code Descriptions.

 

140 Insurance PERSONAL INJURY PERSONAL INJURY t | 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane CL 365 Personal Injury - of Property 2 7 423 Withdrawal 376 Qui Tam (31-USC
130 Miller Act 315 Airplane Product Product Liability | _]690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability Cc 367 Health Care/ 400 State Reapportionment
E] 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical |_| 410 Antitrust
& Enforcement of Judgment Slander Personal Injury i 820 Copyrights 430 Banks and Banking
151 Medicare Act | 330 Federal Employers’ Product Liability | 830 Patent 450 Commerce
152 Recovery of Defaulted Liability [7] 368 Asbestos Personal |_| 835 Patent - Abbreviated 460 Deportation
Student Loans - 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
[[] 153 Recovery of Overpayment Liability PERSONAL PROPERTY 880 Defend Trade Secrets [__] 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Stagdard: Act of 2016 (15 USC 1681 or 1692)
OJ 160 Stockholders’ Suits - 355 Motor Vehicle H 371 Truth in Lending Act | 485 Telephone Consumer
[_] 190 Other Contract Product Liability [_] 380 Other Personal 1720 Labor/M: Protection. Act
195 Contract Product Liability rj 360 Other Personal Property Damage Relations |] 861 HIA (1395 ff) |_| 490 Cable/Sat TV
H 196 Franchise Injury oO 385 Property Damage 740 Railway LabowAct | | 862 Black Lung (923) xj 850 Securities/Commodities/
362 Personal Injury - Product Liability 751 Family and Mdiical | 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act | | 864 SSID Title XVI | 890 Other Statutory Actions
ee | _|790 Other Labor L igation ff} 865 RSI (405(g)) |_| 891 Agricultural Acts
| |210 Land Condemnation [_|791 Employee nif 893 Environmental Matters
[_ 220 Foreclosure | | 463 Alien Detainee Income Securify Act |_| 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment | "| 510 Motions to Vacate i 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations | | 530 General 871 IRS—Third Party 899. Administrative Procedure
EL] 290 All Other Real Property 445 Amer. w/Disabilitics -[__ | 535 Death Penalty MIG; 26 USC 7609 Act/Review or Appeal of
Employment Other: |_| 462 Naturalization [pplication Agency Decision
| 446 Amer. w/Disabilities -[_ ] 540 Mandamus & Other 465 Other Immigrafion | 950 Constitutionality of
Other |_| 550 Civil Rights Actions State Statutes
[| 448 Education |__| 555 Prison Condition
[| 560 Civil Detainee -
Conditions of
Confi

 

 

 

 

 

 

V. ORIGIN (Place an “xX” in One Box Only)

 

 

fa}i Original (2 Removed from 3 Remanded from [14 Reinstated or (| B Transferred from 6 Multidistrict ([]8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation ~ Litigation -
oo (specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional untless diversity):

Securities & Exchange Act of 1934

 

VI. CAUSE OF ACTION -— — -
Brief description of cause: fraudulent activity, induced innocent vi

vi

 

ims to make investments into ponzi scheme

 

 

 

 

 

 

VIL. REQUESTEDIN [] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: [lyes []No
VIII. RELATED CASE(S) ‘ ,

ee instructions):

IF ANY JUDGE DOCKET NUMBER

DATE SIGNATURE OF ATTORNEY OF RECORD
6/21/2022 /s/ Galen Criscione —
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP TUDGE MAG, JUDGE

 

 

 
